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 5   Attorney for Defendant,
     John Derek Gitmed
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 7
                            IN THE UNITED STATES DISTRICT COURT
 8
                         FOR THE EASTERN DISTRICT OF CALIFORNIA
 9

10
     UNITED STATES OF AMERICA,                      ) Case No.: 1:14-cr-00189 AWI-BAM
11                                                  )
                         Plaintiff,                 ) STIPULATION TO ADVANCE
12                                                  ) RESTITUTION HEARING; ORDER
     vs.                                            )
13                                                  )
     JOHN DEREK GITMED                              )
14                                                  )
                        Defendant.                  )
15                                                  )
16
     TO: BENJAMIN B. WAGNER, UNITED STATES ATTORNEY, AND MICHAEL
17
     TIERNEY, ASSISTANT UNITED STATES ATTORNEY, COUNSEL FOR
18   PLAINTIFF:

19          IT IS HEREBY STIPULATED by and between the parties hereto, and through their
20   respective attorneys of record, that the Restitution Hearing in the above captioned matter now set
21   for January 11, 2016 at 1:30pm, be advanced to January 4, 2016 at 1:30 p.m. The advancement is

22   requested by counsel for Defendant, John Derek Gitmed.

23
            DATED: December 16, 2015
24
                                                  Respectfully submitted,
25
                                                  /s/ Michael W. Berdinella
26
                                                  Michael W. Berdinella
27                                                Attorney for Defendant
28                                                John Derek Gitmed


                               Stipulation to Continue Sentencing                             1
          Case 1:14-cr-00189-DAD-BAM Document 133 Filed 12/17/15 Page 2 of 2


 1          DATED: December 16, 2015
 2                                               /s/ Michael G. Tierney
                                                Michael G. Tierney
 3
                                                Assistant United States Attorney
 4

 5

 6                                           ORDER
 7
     IT IS SO ORDERED that the sentencing of John Derek Gitmed is advanced to January 4, 2016
 8   at 1:30 p.m. and that time is excluded in the interests of justice pursuant to 18 U.S.C.§3161
 9   (h)(7)(A) and (B)

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11   IT IS SO ORDERED.

12   Dated: December 17, 2015
                                               SENIOR DISTRICT JUDGE
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                              Stipulation to Continue Sentencing                           2
